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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF TEXAS
                              FORT WORTH DIVISION

ROBERT (BOB) ROSS,                            §
                                              §
  Plaintiff/Counterclaim Defendant,           §
                                              §
v.                                            §       Civil Action No. 4:22-cv-00343-Y
                                              §
ASSOCIATION OF PROFESSIONAL                   §
FLIGHT ATTENDANTS,                            §
MCGAUGHEY, REBER AND                          §
ASSOCIATES, INC., JULIE                       §
HEDRICK, AND ERIK HARRIS,                     §
                                              §
  Defendants/Counterclaim Plaintiff.          §

                 CERTIFICATE OF INTERESTED PERSONS OF
           DEFENDANT COUNTERCLAIM PLAINTIFF ASSOCIATION OF
            PROFESSIONAL FLIGHT ATTENDANTS, AND DEFENDANTS
                     JULIE HEDRICK AND ERIK HARRIS

       Pursuant to Fed. R. Civ. P. 7.1 and LR 3.1(c), LR 3.2(e), LR 7.4, LR 81.1(a)(4)(D), and

LR 81.2, Defendant Counterclaim Plaintiff Association of Professional Flight Attendants

(“APFA”), and Defendants Julie Hedrick and Erik Harris (collectively, “Defendants”) provide

the following information:

       For a nongovernmental corporate party, the name(s) of its parent corporation and any
       publicly held corporation that owns 10% or more of its stock (if none, state “None”):

              None.

       A complete list of all persons, associations of persons, firms, partnerships, corporations,
       guarantors, insurers, affiliates, parent or subsidiary corporations, or other legal entities
       that are financially interested in the outcome of the case:

              1.      Association of Professional Flight Attendants (“APFA”);

              2.      Julie Hedrick, National President of APFA (“Hedrick”);

              3.      Erik Harris, National Treasurer of APFA (“Harris”);



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             4.      Robert (Bob) Ross, former National President of APFA;

             5.      McGaughey, Reber and Associates, Inc., d/b/a Diversified Credit Systems;
                     and

             6.      Members of, and individuals represented by, the APFA.


Date: May 16, 2022                          /s/ Sanford R. Denison
                                          SANFORD R. DENISON
                                          Tex. Bar No. 05655560
                                          Baab & Denison, LLP
                                          6301 Gaston Ave., Suite 550
                                          Dallas, TX 75214
                                          Tel.: (214) 637-0750
                                          Fax.: (214) 637-0730
                                          Email: denison@baabdenison.com

                                          MARGOT A. NIKITAS*
                                          Illinois Bar No. 6309782
                                          General Counsel
                                          Association of Professional
                                            Flight Attendants
                                          1004 W. Euless Boulevard
                                          Euless, TX 76040
                                          Tele. (817) 540-0108 ext. 8108
                                          Fax. (817) 355-1919
                                          Email: MNikitas@apfa.org

                                          WILLIAM W. OSBORNE*
                                          D.C. Bar No. 912089
                                          Osborne Law Offices P.C.
                                          5335 Wisconsin Avenue N.W., Suite 440
                                          Washington, D.C. 20015
                                          Tel.: (202) 243-3200
                                          Fax: (202) 686-2977
                                          Email: b.osborne@osbornelaw.com

                                          Counsel for Defendant Counterclaim Plaintiff
                                          Association of Professional Flight Attendants, and
                                          Defendants Julie Hedrick and Erik Harris

                                          *Application of Admission Pro Hac Vice
                                          Forthcoming




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                               CERTIFICATE OF SERVICE

       I certify that on this 16th day of May 2022 a true and correct copy of the foregoing

document was served on the below listed counsel of record for Plaintiff/Counterclaim Defendant

Ross by a means permitted by Rule 5(b)(2) of the Federal Rules of Civil Procedure (“F.R.C.P.”).

       KERRI PHILLIPS
       K.D. Phillips Law Firm, PLLC
       5700 Tennyson Parkway, Suite 300
       Plano, Texas 75024
       Phone: (972) 327-5800
       Fax: (940) 400-0089
       Email: kerri@KDphillipslaw.com

Date: May 16, 2022                           /s/ Sanford R. Denison
                                            SANFORD R. DENISON




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